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IN THE UNITED STATES DISTRICT COURT —_UNTTED STATES Doing

FOR THE DISTRICT OF COLORADO

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Civil Action No. 08 “ CV “ 0 1 0 4 2, GREGORY C. LANGHAM

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(The above civil action number must appear on all future papers CLE .
sent to the court in this action. Failure to include this number Co
may result in a delay in the consideration of your claims.)

JAMES ARTHUR FAIRCLOTH,

Plaintiff,
Vv.
LT. HARTMAN (Administrative Lt. for Health Service),
ELAINE MEYERS (Health Services Administrator), and
DR. PITCHER (Medical Doctor),

Defendants.

ORDER DIRECTING CLERK TO COMMENCE CIVIL ACTION AND
DIRECTING PLAINTIFF TO CURE DEFICIENCY

Plaintiff has submitted a Prisoner’s Motion and Affidavit for Leave to Proceed
Pursuant to 28 U.S.C. §1915, a Motion to Appoint Counsel, and a Prisoner Complaint.
As part of the court's review pursuant to D.C.COLO.LCivR 8.2, the court has
determined that the submitted documents are deficient as described in this order.
Notwithstanding the deficiencies, the clerk of the court will be directed to commence a
civil action. Plaintiff will be directed to cure the following if he wishes to pursue his
claims. Any papers which the Plaintiff files in response to this order must include the
civil action number on this order.

28 U.S.C. § 1915 Motion and Affidavit:

(1) __ — isnot submitted
(2) __ _ is missing affidavit

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(3) x is missing certified copy of prisoner's trust fund statement for the 6-month
period immediately preceding this filing (Account statement submitted is

nat erartifisd Aw o mricnan official \

(4) __ is missing required financial information

(5) _ _ is missing an original signature by the prisoner

(6) _ ___ is not on proper form (must use the court’s current form)

(7) __ names in caption do not match names in caption of complaint, petition or
habeas application

(8) __ An origina! and a copy have not been received by the court.
Only an original has been received.

(9) _. — other:

Complaint, Petition or Application:
(10) is not submitted

(11) __ is not on proper form (must use the court’s current form)

(12) __ is missing an original signature by the prisoner

(13) __ is missing page nos. ___

(14) _ —_ uses et al. instead of listing all parties in caption

(15) _  Anoriginal and a copy have not been received by the court. Only an
original has been received,

(16) _ Sufficient copies to serve each defendant/respondent have not been
received by the court.

(17) | names in caption do not match names in text

(18) __ other

Accordingly, it is
ORDERED that the clerk of the court commence a civil action in this matter. It is
FURTHER ORDERED that the Plaintiff cure the deficiencies designated above
within thirty (30) days from the date of this order. Any papers which the Plaintiff
files in response to this order must include the civil action number on this order. It is
FURTHER ORDERED that, if the Plaintiff fails to cure the designated

deficiencies within thirty (30) days from the date of this order, the complaint and the
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action will be dismissed without further renee f Ahe ye al shall be without prejudice.

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BY THE COURT:

Mf
. SHAFFER
United States Magistrate Judge
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 08 one CV = 0 ] mn 4 9

James Arthur Faircloth —
Prisoner No. 082382
Arapahoe County Det. Facility
PO Box 4918

Centennial, CO 80155

| hereby certify Wel | have mailed a copy of the ORDER to the above-named
individuals on Siok

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GREGORY C. LANGHAM, CLERK

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Deputy Clerk

